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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F NEW JERSEY

 

ANDREW K. BONNER, JR., : NO. 3:18-cv-09187-PGS-LHG

Plaintiff,
v.

MARISSA M. HUBER,
JUSTIA.C()M, and NJ COURT .
OF APPEALS CLERKS OFFICE, :

Defendants.

 

 

DEFENDANT JUSTIA INC.’S BRIEF IN SUPP()RT ()F ITS M0T10N T0
DISMISS PLAINTIFF’S C<)MPLAINT FOR FAILURE T0 STATE A
CLAIM UPoN WHICH RELIEF MAY BE GRANTED PURSUANT TO
FEDERAL RULE <)F CIVIL PROCEDURE 12(b)(6)

 

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DATED: July 3(), 2018

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I. STATEMENT OF FACTS

On l\/Iay 14, 2018, Plaintiff, Andrevv K. Bonner, Jr., filed a Complaint against
Defendants Justia lnc. (hereinafter, “Moving Defendant”), Marissa M. Huber, and the
Nevv Jersey Court oprpeals Clerl<s Ofiice. Plaintit`f alleges that Defendants Marissa
Huber and the New Jersey Court of Appeals Clerl<s Oftices provided Moving
Defendant vvith an opinion rendered by the Superior Court ofNeW Jersey, Appellate
Division, in the matter of Bonner v. Cumberland Regiomzl Hl`gh School Dz`strz'ct,
Docl<et No. A-41330-15T1, Without Plaintifi”s consent and before the opinion Was
provided to Plaintiff. See Plaintist Complaint (Doc. l), attached hereto as Exhibit
“A.” The opinion provides the Appellate Division’s ruling that affirmed the decision
of the Superior Court of New Jersey granting summary judgment in favor of the
defendant, Cumberland Regional High School District, in the state court action
brought by Plaintiff. See Opinion, attached hereto as EXhibit “B.” Plaintiff is
apparently alleging that the opinion vvas private and/or Was his personal property,
because he claims that l\/loving Defendant somehow stole it.

l\/loving Defendant is a provider of free online legal information Plaintiff is
obviously aware of this, because he used Moving Defendant’s Website,
vavv.justia.com, to access free case law that he attached as an exhibit to his

Complaint in this action to support his alleged claims See Exhibit “C.”

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Moving Defendant obtained the opinion from the online repository of Nevv
Jersey case law maintained by Rutgers University.l The repository can be accessed by
the public to obtain case law and opinions rendered by the Nevv lersey courts, Which
are a matter of public record. Upon obtaining the opinion in question, Moving
Defendant posted it on its vvebsite for the public to access for free. The opinion vvas
forrnatted to conform to Moving Defendant’s Website, but the substance of the opinion
is identical to that found on the Rutgers’ repository l\/loving Defendant did not add
any commentary to the opinion, nor did it omit any substantive information from the
opinion When it posted the opinion on the Website.

In his Complaint, Plaintiff purports to assert claims of libel, slander, defamation
of character and emotional distress against all Defendants. Plaintiff further
purportedly alleges that Defendants violated criminal statutes, 18 U.S.C. §§ 1506 and
1509. Piaintiff also demands judgment of “at least $750,000” plus punitive damages

Plaintiff served the Complaint upon Moving Defendant on June 18, 2018. This
Honorable Court granted Moving Defendant’s request for an extension until July 30,
2018 to provide a responsive pleading to the Complaint. Therefore, Moving

Defendant timely moves to dismiss Plaintif`fs Complaint.

 

l https://njlavv.rutgers.edu/collections/courts/search.php

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II. LEGAL ARGUMENT

 

A. Standard of Review for Federal Rule of Civil Procedure 12(b)(6)

l\/Ioving Defendant is entitled to an order dismissing Plaintiff s Complaint, with
prejudice, for failure to state a claim for which relief can be granted. Fed.R.C.P.
l2(b)(6) provides for the dismissal of a complaint, in whole or in part, if it fails to
state a claim upon which relief can be granted The moving party bears the burden of
showing that no claim has been stated. Hedges v. Um`ted Staz‘es, 404 F.3d. 744, 750
trt cir. 2005).

ln deciding a motion to dismiss, the Court must take all allegations in the
Complaint as true and view them in the light most favorable to Plaintiff. Warrh v.
Seldz`n, 422 U.S. 490, 501 (1975). “Factual allegations must be enough to raise a right
of relief above the speculative level.” Bell Arlcmric Corp. v. Twombly, 550 U.S. 544,
555 (2007). Only a complaint that states a plausible claim for relief survives a motion
to dismiss Ashcrr)fz v. [qba[, 556 UiS. 662, 674 (2009). A complaint is properly
dismissed where either: (l) it lacks a cognizable legal theory for recovery; or (2) the
plaintiff alleges insufficient facts to support a cognizable legal theory. Roberz‘son v.
Decm Wl`z‘rer Reynolds, ]rzc., 749 F.2d 530, 534 (9th Cir. 1984).

Plaintiff’ s Complaint fails to provide either a cognizable legal theory or
sufficient facts to sustain a cause of action against l\/Ioving Defendant. Therefore, this

Court should dismiss Plaintiff’ s Complaint against Moving Defendant, with prejudice

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B. Plaintiff Fails to State a Claim of Libel and Defamation Against
Moving Defendant.

 

Plaintiff alleges that the posting of the opinion in which Plaintiff is a party by
Moving Defendant on its website constitutes libel and defamation against Plaintiff.

To prevail on a libel claim, Plaintiff must prove: (l) that Moving Defendant
made a defamatory statement; (2) concerning the Plaintiff; (3) which was false; (4)
which was communicated to persons other than Plaintiff; and (5) fault. Taj Mahcz/
Travel, [nc. v. DelmAl`rlr`nes, ]nc., 164 F.3d 186 (3d Cir. 1998).

The Court must first examine whether l\/loving Defendant’s posting of the
opinion on its website can be considered a “defamatory statement of fact” relating to
Plaintiff. Whether a statement is defamatory is a matter of law to be determined by
the Court. A defamatory statement is one that is “false and injurious to the reputation
of another or exposes another person to hatred, contempt or ridicule or subjects
another to a loss of the good will and confidence of others.” Mayflower Transit, LLC
v. Prz`nce, 314 F. Supp. 2d 362, 372(1).1\1.1. 2004).

The posting of the opinion by Moving Defendant on its website is not a
defamatory statement of fact. The opinion is the Appellate Division’s ruling
regarding Plaintiff s appeal of the Superior Court’s decision granting summary
judgment against Plaintiff. There is nothing false or injurious to the reputation of
Plaintiff in the opinion, which finding of the Court can be obtained by the public

through various means. Moving Defendant did not include any of its own

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commentary or opinions regarding Plaintiff or the Appellate Division’s ruling when it
posted the opinion on its website and therefore, made no statements, let alone
defamatory or false statements, about Plaintiff. The substance of the opinion on the
website is identical to the opinion on the Rutgers’ repository, which is the verbatim
opinion issued by the Court. Further, Plaintiff would not be subject to hatred,
contempt, ridicule or would lose the good will and confidence of the public if the
public learned that his appeal had been denied by the Appellate Division in the
underlying action brought by Plaintiff and in which the New Jersey Courts rendered
decisions This opinion was already available in the public domain before l\/Ioving
Defendant posted it on its website, which caused no harm to Plaintiff. Finally, the
posting of the opinion caused no injury to Plaintiff, as he voluntarily attached a copy
of the opinion to his Complaint in this action, which is a public record that can be
accessed by the public upon review of the Court’s docket or visit to the Clerl<’s office
See Exhibit “A.”

As the posting of the opinion on l\/Ioving Defendant’s website does not
constitute a defamatory or false statement of fact concerning Plaintiff, Plaintiff neither
has stated, nor can state, a claim for libel against Moving Defendant Further, since
the posting is not considered a defamatory statement, Plaintiff s claim for defamation
must also fail. Therefore, this Honorable Court should dismiss Plaintiff` s claims of

libel and defamation against l\/loving Defendant, with prejudice

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C. PlaintiffFails to State a Claim of Slander against Moving Defendant.

Plaintiff alleges that the posting of the opinion by Moving Defendant on its
website constitutes slander of Plaintiff.

Generally, in an action for slander, special damages must be alleged and proven
for a plaintiff to prevail. Evidence of mental suffering or physical sickness, without
more, is insufficient “There must be proof of a pecuniary loss or loss of some
material advantage.” Hoagburg v. Harrah ’s Marina Horel Casino, 585 F. Supp. 1 167,
1170 (D. N.J. 1984).

ln his Complaint, Plaintiff vaguely alleges that, as a result of Moving Defendant
posting the opinion, he sustained “extreme anxiety, depression, emotional distress and
a tainted and besmirched name.” See Exhibit “A.” These allegations alone are not
sufficient to support a claim of slander. While Plaintiff demands compensatory
damages in the amount of “at least” 8750,000, the Complaint contains absolutely no
factual or legal basis or support for any compensatory damages, let alone 8750,000, to
be awarded in his favor. Further, Plaintiff failed to aver in his Complaint that he lost
any material advantage as a result of the posting of the opinion by l\/foving Defendant

An exception to this general rule occurs only when the alleged defamatory
statements are actionable as slander per se. Defamatory statements are slanderous per

se when they: (1) charge commission of a crime; (2) impute certain loathsome

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diseases; (3) affect a person in his business, trade, profession or office; or (4) impute
unchastity to a woman. Arz‘urz` v. Tz`ebz`e, 73 N.J. Super. 217, 222 (App. Div. 1962).

Plaintiff cannot support a claim for slander per se. As discussed, Supm, the
posting of the opinion by Moving Defendant on its website is not a defamatory or
false statement Even if the posting could be considered a defamatory or false
statement, which Moving Defendant denies, the posting did not charge commission of
a crime. The posting also did not impute certain loathsome diseases While Plaintiff
alleges that the posting affected him personally, there are no allegations that it affected
his business, trade, profession or office. Pinally, the posting did not impute unchastity
to a woman, as Plaintiff is a male.

Therefore, for the reasons set forth above, this Honorable Court should dismiss
Plaintiff s claims of slander against l\/loving Defendant, with prejudice

D. Plaintiff Fails to State a Claim of “Emotional Distress” against
Moving Defendant.

ln his Complaint, Plaintiff vaguely alleges that, as a result of the posting of the
opinion by Moving Defendant on its website, Plaintiff sustained “emotional distress.”
Because Plaintiff failed to establish a valid cause of action to recover for
emotional distress, the Court should dismiss the “claim” for “emotional distress”
against Moving Defendant, with prejudice However, even if Plaintiff can proceed

with a “claim” for “emotional distress,” which l\/loving Defendant denies, Plaintiff

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failed to allege, and cannot support, a claim for either intentional or negligent
infliction of emotional distress

To state a claim for intentional infliction of emotional distress under New
Jersey law, Plaintiff must demonstrate severe emotional distress resulting from
conduct that is “so outrageous in character, and so extreme in degree, as to go beyond
all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
in a civilized community.” Buck/ey v. Trerzron Saving Furzd Socz'ely, l 1 l N.J. 355,
367 (1988) (citing Restatement (Second) of Torzs § 46).

The Complaint does not demonstrate any severe emotional distress sustained by
Plaintiff as a result of the posting of the opinion. Rather, the Complaint vaguely
alleges that Plaintiff sustained “emotional distress.” Further, l\/loving Defendant’s
conduct was not outrageous atrocious or utterly intolerable in a civilized community

To the contrary, l\/loving Defendant is a provider of free online legal
information, which as discussed above, Plaintiff is aware of and uses lt obtained the
opinion from the online repository of New Jersey case law maintained by Rutgers
University, which is accessible to the public including Plaintiff. Moving Defendant
then formatted the opinion to conform to its website, but it did not change or alter the
substance of the opinion Moving Defendant did not add any commentary to the
opinion Rather, the substance of the opinion on the website is identical to the opinion

on the Rutgers repository. Therefore, l\/loving Defendant’s mere posting of the

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opinion is not remotely close to the actions required to support a claim of intentional
infliction of emotional distress Accordingly, to the extent the Complaint supports a
claim of intentional infliction of emotional distress which l\/loving Defendant denies,
the Court should dismiss the claim against Moving Defendant, with prejudice

A plaintiff can assert a claim for negligent infliction of emotional distress where
“a person who is the direct object of a tortfeasor’s negligence experiences severe
emotional trauma as a result of the tortfeasor’s negligent act or omission.” Sporn v.
Ocecm Colony Condo Ass ’n, 173 F. Supp. 2d 244, 254 (D. N.J. 2001). The analysis of
direct claims of negligent infliction of emotional distress “involves traditional
concepts of duty, breach and causation” and “determining defendant’s negligence
depends on whether defendant owed a duty of care to the plaintiff, which is analyzed
in terms of foreseeability.” [d.

As discussed above, the Complaint does not identify any severe emotional
trauma that Plaintiff sustained Rather, the Complaint vaguely alleges that Plaintiff
sustained “emotional distress” with no further description Further, the Complaint
does not assert a claim of negligence against Moving Defendant Even if a claim of
negligence was asserted, l\/foving Defendant did not breach any duty it may have owed
to Plaintiff. l\/loving Defendant did not steal the opinion from Plaintiff or the Court as
alleged by Plaintiff. Rather, Moving Defendant obtained the opinion from the online

repository maintained by Rutgers University, which is accessible to the public.

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l\/Ioving Defendant accurately reported the opinion on its website lt did not change or
alter the substance of the opinion The opinion on l\/loving Defendant’s website is
identical to the opinion found on the online repository. Therefore, as Moving
Defendant did not breach any duty it may have owed to Plaintiff`, to the extent that the
Complaint asserts a claim of negligent infliction of emotional distress, which l\/loving
Defendant denies, this Court should dismiss the “claim” against Moving Defendant,
with prejudice

E. Piaintiff’s Claims that Moving Defendant Violated 18 U.S.C. §§ 1506
and 1509 are Inanposite, Not Valid and Must be Dismissed.

In his Complaint, Plaintiff alleges that the posting of the opinion by l\/loving
Defendant on its website violated 18 U.S.C. §§ 1506 and 1509. These are criminal
statutes and have absolutely §§ bearing on Plaintiff" s civil lawsuit No criminal
charges were ever filed against Moving Defendant as a result of posting the opinion

18 U.S.C. § 1506 involves the theft or alteration of record or process As
discussed, supra, l\/loving Defendant did not steal the opinion The opinion is a public
record and was contained in the online repository maintained by Rutgers University,
which is accessible to the public. Moving Defendant properly obtained the opinion
from the online repository.

18 U.S.C. § 1509 involves the obstruction of Court orders, specifically
preventing the performance of duties under any order or judgment of a Court of the

United States. This criminal statute has absolutely _n_o_ relevance to this case Moving

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Defendant did not prevent the performance of the judgment contained in the opinions
by posting it on its website Accordingly, this Court should dismiss these meritless
claims against Moving Defendant, with prejudice

F. Plaintiff"s Complaint does Not Set Forth any Valid Causes of Action
to Recover Compensatorv Damages, Let Alone Punitive Damages.

ln his Complaint Plaintiff purportedly asserts a claim for punitive damages
pursuant to l\lew Jersey’s Punitive Damages Act. For the reasons set forth above,
Plaintiff fails to set forth any valid cause of action where Plaintiff could recover
compensatory damages let alone punitive damages Even if compensatory damages
could be awarded in this matter, which Moving Defendant denies Moving
Defendant’s alleged conduct does not remotely warrant the imposition of punitive
damages
New lersey’s Punitive Damages Act provides in relevant part:
Punitive damages may be awarded to the plaintiff
only if the plaintiff proves by clear and convincing
evidence, that the harm suffered was the result of the
defendant’s acts or omissions and such acts or
omissions were actuated by actual malice or
accompanied by a wanton and willful disregard of
persons who foreseeably might be harmed by those
acts or omissions This burden of proof may not be
satisfied by proof of any degree of negligence

including gross negligence.”

N.J. stat Ann. § 2A;15~5.12(a).

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“An award of punitive damages by a jury serves a twofold purpose: first to
punish egregious misconduct, and second, to deter the offender, and others from
repeating it.” Lz`thuanian Commerce Corp. v. Sara Lee Hosz`ery, 219 F. Supp. 2d 600,
610 (D. N.J. 2002). The intent of the New Jersey Legislature in enacting the Punitive
Damages Act was to establish more restrictive standards governing an award of
punitive damages Id.

Plaintiff fails to allege any facts that l\/loving Defendant acted with actual
malice or with a wanton and willful disregard of Plaintiff when it posted the opinion
on its website Moving Defendant lawfully obtained the opinion from the online
repository of New Jersey case law maintained by Rutgers University. This repository
is accessible to the public. l\/loving Defendant then formatted the opinion to conform
to its website, but it did not change or alter the substance of the opinion l\/loving
Defendant did not add any commentary to the opinion The opinion on l\/loving
Defendant’s website is identical to the opinion found on the Rutgers repository. As
l\/loving Defendant’s actions do not even closely resemble negligence let alone actual
malice or a wanton and willful disregard of Plaintiff, the Court should dismiss the
claim for punitive damages against l\/loving Defendant, with prejudice

G. Motion for a More Definite Statement

 

Documents filed pro se are to be especially liberally construed, because a pro se

litigant’s pleadings “however inartfully pleaded, must be held to less stringent

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standards than formal pleadings drafted by lawyers.” Erz`cson v. Pardus 551 U.S. 89,
94 (2007). Third Circuit precedent holds that, in civil rights actions district courts
must offer amendment ~ irrespective of whether it is requested by a pro se plaintiff in
response to a motion for failure to state a claim - unless doing so would be inequitable
or futile Fletcher-Harlee Corp. v. Poi‘e Concrete Conrractors, Inc., 482 F.3d 247,
251 (3d Cir. 2007). Although any amendment by Plaintiff would be futile, which
warrants the dismissal with prejudice of Plaintiff s Complaint7 as an alternative to
dismissing Plaintiff`s Complaint, the Court may order Plaintiff to attempt to amend
the Complaint to assert missing allegations of fact.
Federal Rule of Civil Procedure 8(a) states:
Each count of a Complaint must identify the particular
defendants and the particular acts they allegedly

committed which give rise to the particular cause of
action set forth in that count

Additionally, Rule 12(e) of the Federal Rules of Civil Procedure states:

lf a pleading to which a responsive pleading is
permitted is so vague or ambiguous that a party
cannot reasonably be required to frame a responsive
pleading, the party may move for a more definite
statement before interposing a responsive pleading
The motion shall point out the defects complained of
and the details desired

Plaintiffs Complaint fails to set forth any factual averments and at best, relies
upon conclusory statements in support of his purported claims against Moving

Defendant This is plainly insufficient to satisfy federal pleading requirements Plaintiff

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provides no information to l\/loving Defendant to aid it in the defense of the claims
alleged in the current Complaint. Plaintiff fails to state with any factual specificity
which acts by l\/loving Defendant form the basis for his purported claims Accordingly,
this Court should dismiss Plaintiff’s Complaint, with prejudice for failure to state a
claim upon which relief may be granted ln the alternative, this Court may order
Plaintiff to re-plead with additional specificity to satisfy the notice pleading
requirements set forth in Rule 8(a)(2).

III. C()NCLUSI()N-

For all of the foregoing reasons Defendant Justia lnc. respectfully requests that
this Honorable Court grant its l\/lotion to Dismiss Plaintiff’ s Complaint and enter the
attached proposed Order dismissing the Complaint as against l\/loving Defendant, with
prejudice

Respectfully submitted,

LEWIS, BRlSBOlS, BlSGAARD &
Sl\/llTH LLP

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Attorneys for Defendant
Justia lnc.

Dated: July 30, 2018

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EXHIBlT A

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l. Parties in this complaint

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Case 3:18~ev-09187~F>GS-LHG Document l titled 05/14/18 Page 2 of 6 Pagel[); 2

List all defendants Yott should state the full name ofthe defendants even if`that defendant is a government
agency, an organization a corporation or an individual lnelude the address where each defendant can be
served Make Sure that the defendant(s) listed below are identical to those contained in the above caption
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Basis for .Jurisdietion:

Federal courts are courts oflimited jurisdiction There are four types ofcases that can be heard in federal eoun: l)
Federal Question - Under 28 U.S,C. § l331, a ease involving the United States Constitution or federal laws or treaties
is a federal question ease; 2) Diversity of Citizenship ~ Under 28 U.S.C`. § 1332, a ease in which a citizen ofone
state sues a citizen ofanother state and the amount in damages is more than 575,000 is a diversity ofeitizenship ease;
3) U.S. Governnient l’laintiff; and 4) U.S. Govemment Defendant

A. Wzat is the basis for federal courtjurisdietion'? (ehee/t ¢I// tha/ apply

Federal Questions m l)iversity ofCitizenship

EL'.S Government Plaintiff MU.S. Government Defendant

lfthe basis forjurisdiction is Federal Question, what federal Constitutional statutory or treaty rieht is at

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Case 3:18-ev~09187-PGS-LHG Document 1 titled 05/14/18 Paqe 3 ot 6 Pagell): 3

C, lt`the basis forjurisdietion is Diversity ofCitizenship, what is the state ot`citizenship ot`each party'.’

Plaintiff(s) state(sl ofcitizenship

 

Defendant(s) state(s) ofcitizenship

 

lll. StatementofClaim:

State as briefly as possible the fa_c_ts_ofyour case. Descrihc how each ofthe defendants named in the caption ofthis
complaint is involved in this action, along with the dates and locations ofall relevant events You may wish to
include further details such as the names ofother persons involved in the events giving rise to your claims Do not
cite any cases or statutes it`you intend to allege a number of related elaims, number and set forth each claim in a
separate paragraph Attach additional sheets of paper as necessary

A. g Where did the events giving rise to your claim(s) occur’.’ C'Umb€P/£ddl& wli’u ll N:§ CL/d
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What date and approximate time did the events giving rise to your elaim(s) oecur? l mm SUM

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IV. lnjuries:

ll).ou sustained injuiies related to the events alleged above describe them and state what medical treatment ill any

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V. Relief:

State what you want the Coutt to do for you and the amount of monetary eompensation, ifany, you are seeking and

the basis for such Compensation,

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Case 3:18-cv“09187»PGS-LHG Document l Fi\ed 05/14/18 Page 6 01 6 PagelD: 6

l declare under penalty of perjury that the foregoing is true and correct

Signed!his \H da;.'of 030/g .20 [§ .

Signatureof?laintiff M%MW

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§ote: A{l plaintiffs named in the caption ofthe complaint must dale and sign the complaint

Signaturc ofPlaintiff;( ;§>ZZLZQBM /{¢ é::@l(:,_/Q@ §§ Z§ ,,

Case 3:18-Cv-09187-PGS-LHG Document 11-1 Filed 07/30/18 Page 28 of 64 Page|D: 86
Case 3;18-1;\/-09187-PGS~LHG Document 111-2 Filed 05/14/18 Page 1 ot 24 PagelD: 8

A judgment in the case Andrew K. Bonner Jr. vs. Cumberland Regional High School
District was made in June of 2017 by the NJ Appellate Division. Marissa M. Huber did not
send the plaintiffa copy of the judgment until April 19, 2018. 'I`he plaintiff did not know
what the official judgment was until April of 2018 almost one full year after the official
decision was entered because Marissa M. Huber failed to mail the plaintiff a copy of the
judgment1 A report was made to the NJ State Police about this. Marissa M. Huber
adequately delayed the plaintiffs ability to begin the appeal process.

18 U.S. Code § 1506 - Theft or alteration of record or process; false bail

Whoever feloniously steals, takes away, alters, l`alsifies, or otherwise avoids any reeord, Writ,
process, or other proceeding in any court of the United States, whereby any judgment is
reversed, made void, or does not take effect; 01 '

Whoever aeknowi edges, or procures to be acknowledged in a1 / such court, any recognizance,
bail, or judgment, in the name of any other person inot privy or consenting to the same-

f

Shall be fined under this title or imprisoned not more than five years, or both.

(June 25 1948,¢11 645 62 Stat 770 1’ub 1 103 322 title XXXIII §330016(1)(K) Sept 13
1994 108 51111.2147)

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Case 3118~Cv-09187~PGS-LHG Document 1-2 Filed 05/14/18 Page 2 01 24 PagelD; 8

w j jj

§ 1506

in section 2331). imprisoned not more than 8
years or both.

tduue 25. 1948 ch. 645, 62 Stat. 770', Pub1 L. 37'664.
§G(a), Sept. 191 1962, 76 Stat. 551; Pub. L, 91»452,
title IX, §903, Oct. 15, 197(1, 84 Stat. 947; Pub. L.
94~¢135, title I, §105, Sept. 30, 1976, 90 Sta.t. 1389;
Pub. b1 97»291, §4((1), Oct. 12, 1982, 96 Stat. 1253;
Ptlb. L. 103»322, title X_XXIU, §330016(1)(1{), Sept.
131 1994, 108 Stat. 2147; Pub. L. 108~458, title VI,
§6703(a). Dec, 17, 2%4, 113 Stat. 3766,)

llls'ronlo_tl. AND RE\'Isro.\' No'rEs

Based on title 18, U.S.C., 1940 ed., §lea. (Mar. 4, 1909,
oh. 321, §l35a, as added Jan. 13, 1940_ ch. l. 54 Stat. 13;
June 81 1945, ch. 178v §2, 59 Stat. 234;.

Wor\l ‘"agency" was substituted lot the words "inde~
pendent establishment board, commission" in two ln-
stances to eliminate any possible ambiguity as to scope
of section (See definitive section 6 of this title.)

Minor chances were made in phraseology1

REFERENCES IN T'EXT

’l'he Antitrust Civll Process Act, referred to in text,
is Pul). L. 87~664, Sept. 19, 1962, 76 Stat. 548. as amended
which is classified generally to chapter 34 (§ 1311 et seq.)
of Title 15, Con‘lrncrce and Trade. For complete classl~
fication of this Act to the Code. see Short Title note
set out under section 1311 of Title 15 and Tables,

AMENDMZNTS

2004-?1111. ll. 10&458, which directed amendment of
the third undesigna.ted paragraph of this section by
substituting "he fined under this title, imprisoned not
more than 5 years or, il the offense involves inter-
national or domestic terrorism las defined in section
2831)1 imprisoned not more than 8 years. or both" for
"be fined under this title or imprisoned not more than
5 years. or both*`. was executed by making the substi~
union for “be fined under this title or imprisoned not
more than live years. or both’\ to reflect the probable
intent ot Congress.

lS‘M~Pub. L. 103~322 substituted "finecl under this
tltle" for "fined not more than $5.000" in last par.

1982-?111). L. 97~291 struck out first two paragraphs
which provided respectively that whoever corruptly1
or by threats or force. or by any threatening letter or
cornrnunicationx endeavored to influence, intimidate
or impede any witness in any proceeding pending before
any department or agency of the Unlted States, or in
connection with any inquiry or investigation being had
by either House, or any committee of either House, or
any joint committee of the Congress. and whoever ln-
1ured any party or witness in his person or property on
account of his attending or having attended such pro~
cecding. lnoulry. or investigation or on account of his
testifying or having testified to any matter pendin€
therein would be subject to the penalty set forth in the
last paragraph1 and in the fourth paragraph substituted
"any pending" for "such" after "law under whioh". and
substituted "any" for "such" before "department" and
before “inqnlry".

‘.976-Pul). L. 94~1135 struck out "section 1968 of this
title" after "Antltrust Givll Process Act". inserted
“‘wlthholds, mlsrepresents" after "willt'nlly". "covers
up" after "conccals". "'answers to written interrog~
atorl`es. or oral testimony". after "any documentary
material", and “or attempts to do so or solicits an~
other to do so:" after "such demand".

1970-?111). L. 91~'152 inserted reference to section 1968
of this title

1962_¥’111), L. 117-664 substituted section catchllne
"Obstruction of proceedings before departments agen-
cies. and comni'rttees" for “ln{lnenclng or injuring wlt-
ness before agencies and committees" and punished the
willful removal. concealment, destruction mutilation.
alteration or falsification of documents which were the
subject o[ a demand under the Antltrust Civll Proccss

TITLE IBWCRIMES AND CRIMINAL PROCEDURE

Page 362

Act if done with the intent to prevent compliance With
a civil investigative demand

RFFBCT'I`~'E D.-\TE OY’ 1982 AMENDMENT
Arnendment by Pub. L. 9'7~291 effective Oct. 12, 1982,

see section S{a.) of Puh. 111 97~291, set out as an Effectlve
Date note under section 1512 of this title

EFF`EC’I'IVE DATH OF 1976 AMENDMENT
Amendment by Puh1 L. 94-435 effective Sept. 30, 1976,

see section 106 of Puh. L1 94435` sec out as a note under
section 1311 of Tltle 15, Commerce and Trade.

§1506. 'I'heft or alteration of record or process;
false bail

Whoever feloniously steals, takes away, alters,
falsifiesy or otherwise avoids any record, writ,
process, or other proceedln§;§y in any court of the
Unlted States. whereby any judgment is re-
versed, made vold, or does not take effeet; or

Whoever acknowledges or procures to be ac~
Knowledged in any such court, any reoog»
nizance. hail, or judgment in the name of any
other person not privy or consenting to the
samew

Shall be fined under this title or imprisoned
not more than five years, or both.

crane 25. 1943, ch. 645. 62 stat 770; Pub. L.
1031~322_ title XXXIH, §33001611)<1<). sept 13, 1994,
108 stat 2147.)

HISTOH!CAI; :\ND R.EVIS!OZ\' NOTES

Based on title 18. U.S.C.1 1940 ed.. §233 tMor. 4. 1909.
ch, 321. §127, 35 Stat. 1111).

'l'he term of imprisonment was reduced from 7 to 5
years to conform the punishment with like ones for
similar offenses (See section 1503 of this title.)

Mlnor changes were made ln phraseology

AMI~‘.NpMI-;N'rs

lQS‘l-Pub. l,, 103-322 substituted "finerl under this
title" for "fincd not more than S:').GOO" in last par1

§ 1507. Picket`mg or pnrading

Whoever. with the intent of interfering with1
obstructing or impeding the administration of
justice or with the intent of influencing any
judge juror. witness or court officer. in the dis~
charge of his duty, pickets or parades in or near
a building housing a court of the United States,
or in or near a building or residence occupied or
used by such judge, juror, witness, or court offi-
cer. or with such intent uses any sound-truck or
similar device or resorts to any other dem-
onstration in or near any such building or rests
dence. shall be fined under this title or impris~
oned not more than one year, or hoth.

Nothing in this section shall interfere with or
prevent the exercise by any court of the Unitecl
States of its power to punish for contempt

(Added Sept, 23. 1950, eh. 102/1, title I, §El(a). 64

Stat. 1018: amended Pub. L. 103-322, title XXXIII.

§33001€5(1)('£(). Sept. 13, 1994, 108 Stat. 2147.)
Arrn.\=ostr..\"rs

1994-Puh. L. 1051»322 substituted "fined under this
title" for "t'ined not more than 551000" in first par.

§1508. Recording, listening to, or observing pro-
ceedings of grand or petit juries while delib-
erating or voting

Whoever knowingly and wlllfully,
means or device whatsoever»

by any

Case 3:18-Cv-09187-PGS-LHG Document 11-1 Filed 07/30/18 Page 30 of 64 Page|D: 88
Case 3:18-<:\/-08187-13(58‘1_1~1(3 Documcrit 1-2 filled 05/14/18 Page 3 of 24 PagelD: 10

A judgment in the case Andrew K. Bonner Jr. vs. Cumberland Regional High School
District was made in June of 2017 by the NJ Appellate Division. Marissa M. Huber did not
send the plaintiff a copy of the judgment until April 19, 2018. The plaintiff did not know
what the official judgment was until April of 2018 almost one full year after the official
decision was entered because Marissa M. Huber failed to mail the plaintiff a copy of the
judgment A report was made to the NJ State Poliee about this. Marissa M. Hubcr
adequately delayed the plaintiffs ability to begin the appeal process.

§ 1509. Obstruction of court orders Whoever, by threats or force, willfully prevents, obstrucis,
lmpedcs, or interferes with, or willfully attempts to prevent obstruct impede, or interfere with,
the due exercise of rights or thc performance of duties under any order, judg_z,ment7 or decree of a
conn of the Uniied Staies, shall bc fined under this title or imprisoned not more than one year, or
both No injunctive or other civil relief against thc conduct made criminal by this section shall be
denied on the ground that such conduct is a crime (Added Pub. L. 86~449, title l, §lOl., May 6,
1960, 74 Siat. 86; amended Pub. L. 103-322, title XXXHL §330016(1)(H), Sept. 13, 1994, 108

’ Stat.2147.)

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l

Page 363

(a) records or attempts to rccord, the pro»
ceedings of any grand or petit jury in any
court of the United States while such jury is
deliberating or voting; or

(b) listens to or observes or attempts to lis~
ten to or observe the proceedings of any grand
or petit jury of which he is not a member in
any court of the United States while such jury
is deliberating or voting-

shall be fined under this title or imprisoned not
more than one year, or both

Nothing in paragraph (a) of this section shall
be construed to prohibit the taking of notes by
a grand or petit juror in any court of the United
States in connection with and solely for the pur-
pose of assisting him in the performance of his
duties as such juror

(Added Aug. 2, 1956, Ch. 879, §l, 70 Stat. 935;
amended Pub. L. 103¢-322, title XXXHI,
§330016(1)(H). Sept. 13, 1994. 108 Stat, 2147; Pub.
L, 104-294` title VL §BOl(U(lBl` Oct. ll, 1996` 110
Stat. 3500.)
AMENDMF!NTS

lSQS~?ub. L. 104-294 realigned margins for provisions
beginning "shall be fined" and ending ‘“one year, or
both,"

2994-'?;11'). L. 20&322 substituted “[izzed under this
title" for "fined not more than $1,00(}‘v in par. following
par (b)_

§ 1509. Obstruction of court orders

Whoever. by threats or force. willfully pre~
vents. obstructs, impedes, or interferes wiih, or
willfully attempts to prevent, obstruct, lmpede,
or interfere Wlth, the due exercise of rights or
the performance of duties under any order, judg-
ment, or decree of a court of the United States,
shall be fined under this title or imprisoned not
more than one year. or both.

No injunctive or other civil relief against the
conduct made criminal by this section shall be
denied on the ground that such conduct is a
crime

(Added Pub, L, 86449, title I. §l(ll, May 6. 1960,
74 Stat. 86; amended Pub. L, 103£22, title
XXXIII, §330016(1)(H>, Sept. 13, 1994, 108 Stat.
2147.>

AMENDMEN'I'S

lQ%~Pub. L_ 1034§22 substituted "t'incd under this
titlc" for "fined not more than 31.000" in first par.

§ 1510. Obstructiou of criminal investigations

(a) Whoever willfully endeavors by means of
bribery to obstruct. delay. or prevent the com-
munication of information relating to a viola-
tion of any criminal statute of the United
States by any person to a criminal investigator
shall be fined under this title or imprisoned not
more than five years, or bothv

(b)(l) Whoever, being an officer of a financial
institution, with the intent to obstruct a judi»
cial proceeding directly or indirectly notifies
any other person about the existence or con-
tents of a subpoena for records of that financial
institution or information that has been fur~
nished in response to that subpoena shall be
fined under this title or imprisoned not more
than 5 years, or both.

TITLE 18-~CRIMES AND CRIMINAL PROCEDURE

§1510

(2) Whoever, being an officer of a financial in~
stitution, directly or indirectly notifies-

(A} a customer of that financial institution
Whose records are sought by a subpoena for
records; or

(B) any other person named in that sub~
poena;

about the existence or contents of that subpoena
or information that has been furnished in re-
sponse to that subpoena, shall be fined under
this title or imprisoned not more than one year,
or both,

(3) As used in this subsection-

(A) the term "‘an officer of a financial insti-
tution" means an officer, director, partner,
employee agent, or attorney of or for a finan~
cial institution; and

(B) the term "subpoena for records" means a
Federal grand jury subpoena or a Department
of Justice subpoena (issuerl under section 3486
of title 18), for customer records that has been
served relating to a violation of , or a conspir-
acy to violate-

(i) section 215, 656, 657. 1003, 1086, 1007, 1014,

1344, 1956, 1957, or chapter 53 of title 31; or

(ii) section 1341 or 1343 affecting a financ.al
institution
(c) AS used in this section, the term "criminal
investigator" means any individual duly autho;~
ized by a department, agency, or armed force of
the United States to conduct or engage in inves~
tigations of or prosecutions for violations of the
criminal laws of the United States.
(d)(ll Whoever- '

(A) acting as or being, an officer‘ directory
agent or employee of a person engaged in the
business of insurance whose activities affect
interstate commerce or \

(B) is engaged ln the business of insurance
whose activities affect interstate commerce or
is involved (other than as an insured or bene»
ficiary under a policy of insurance) in a trans~
action relating to the conduct of affairs of
such a business

with intent to obstruct a judicial proceeding di-
rectly or indirectly notifies any other person
about the existence or contents of a subpoena
for records of that person engaged in such busi»
ness or information that has been furnished to a
Federal grand jury in response to that subpoena
shall be fined as provided by this title or impris-
oned riot more than 5 years, or both

(2) As used in paragraph <'l), the term "sub»
poena for records" means a Federal grand jury
subpoena for records that has been served relat-
ing to a violation of. or a conspiracy to violate
section 1033 of this title

(e) Whoever. having been notified of the appli~
cable disclosure prohibitions or confidentiality
requirements of section 2709(0)(1) of this title,
section 626(d}(l`z or 627(c)(ll of the F‘air Credit
Reporting Act (15 LZS.C, lS@lu(d)(ll or
lGSlv(cl(l)), section lll4(a)(3l(A) or
lll<i(a)(€))(D)(i) of the Right to Financial Prlvacy
Act1 (12 U.S.C. 3414(a)(3)(A) or 3414(a)(5)(D)(i)).
or section BOZ(b)(li of the National Security Act
of 1947 (50 U.S.C. 436(b)(1l). knowingly and with
the intent to obstruct an investigation or judi~

lSo in original Prohal)ly should be followed b\' "of l§’?§l`

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Case 3118~cv‘09187~PGS-LHG Document 1-2 Filed 05/14/18 Page 5 of 24 PagelD: 12

20l3 New Jersey Revised Statutes

Title ZA - ADMINISTRATIGN OF CIVIL AND CRIMINAL JUSTICE
Section ZA;l 5-5.12 - Award of punitive damages; determination
Universal Citation: NJ Rev Stat § 2A:l§-5.l2 (ZOlB)

ZA:lS~S. l2. Award of punitive damages; determination

4. a. Punitive damages may be awarded to the plaintiff only if the plaintiff proves, by clear and
convincing evidence, that the harm suffered was the result of the defendants acts or omissions,
and such acts or omissions were actuated by actual malice or accompanied by a wanton and

willful disregard of persons who foreseeably might be harmed by those acts or omissions This

burden of proof may not be satisfied by proof of any degree of negligence including gross
negligence

b. ln determining whether punitive damages are to be awarded, the trier of fact shall consider all
relevant evidence, including but not limited to, the following:

(_ l) The likelihood, at the relevant time, that serious harm would arise from the defendants
conduct;

(2) The defendant's awareness of reckless disregard of the likelihood that the serious harm at
issue would arise from the defendant’s conduct;

(3) The conduct of the defendant upon learning that its initial conduct would likely cause harm;
and

(4) Thc duration of the conduct or any concealment ofit by the defendant

c. lf the trier of fact determines that punitive damages should be awarded, the trier of fact shall
then determine the amount of those damages ln making that determination, the trier of fact shall
consider all relevant evidence, including, but not limited to, the following:

(l) All relevant evidence relating to the factors set forth in subsection b. of this section;
(2) The profitability of the misconduct to the defendant;

(3) When the misconduct was terminated; and

(4) The financial condition of the defendant

L.1995,c. 142,8.4.

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Case 3:18-c\/-09187*PGS-LHG Document 1-2 l:iled 05/14/18 Page 6 of 24 Pagell): 13

l`he New Jersey Punitive Damages Act, N.J.S.A. ZA:lS-S.Q, limits punitive damages to five
times the amount of compensatory damages awarded or $350,000, whichever is greater, except
in certain cases involving public policy and social concerns

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Case 3:18-cv-O9187-PGS-LHG Document 11-1 Filed 07/30/18 Page 34 of 64 Page|D: 92
Case 3:18~ev-O9167-PGS~LHG Document 1-2 Filed 05/14/18 Page 7 of 24 PagelD: 14

What is also very appalling is that the plaintiffs judgment had been given to a website for
website content before he had ever even officially received the judgment himself as the
plaintiff and victim of the case. Andrew K. Bonner Jr. the victim and plaintiff of the case
Andrew K. Bonner .Ir. vs. Cumberland Regional High School District case number A-
004133~15 in the New Jersey Court of Appeals had his judgment taken and given to a
website for website content before he even received the judgment in the mail himself.
Because of facts about the way that the internet works, I the plaintiff can state a few facts
about this. Namely, I would like to say that website coding is a hard thing to do, l have
tried and it is very hard. For my judgment to be on the website Justia.com before l even
received the judgment means that the culprit intelligently coded into their website my
judgment Website codes are very long and arduous themselves For my judgment to be
coded into the content of the website Justia.eom took some very intended and purposeful
work.

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To the judge’s knowledge, the case had not been reported or published to any website or
anywhere Which means that it is a fact that my case judgment Was published to Justia.com
without the approval of the court and without the approval of any judge.

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Case 3:16-cv~09187-PGS-LHG Document 1-2 Filed 05/14/18 Page 8 of 24 PagelD: 15

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FlLED, Cletl< of the Appellate Dlvisloo, August 02, 2017, A~004133-15

ORDER ON MOTION

SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVISION
DOCKET NO. A~OO4133-15T1

ANDREw K. aoNNER, JR. noT:oN No. M-007862-16

v. BEFORE PART n

cuMBERLAND REGIONAL uIGH scaooL Junce(s)= ALLIsoN E. Accuaso
utsTthT THoMAs v. MANAHAN
norton FILED: 07/07/2017 BY; ANDREW BONNER

Auswan(s)

FILED:

SUBMITTED TO COURT: July 31, 2017

l ours MATTER HAvINc seen DULY.PRESENTED To ran counT, IT rs, on rats
ist day of Auguse, 2017, HBREBY ohnaaan As FoLLows= "

MOTION BY APPELLANT

MOTION TO REMOVE ANY PUBLISHED
CASE MATTER FROM THE PUBLIC RECORD DENIED AND OTHER

SUPPLEMBNTAL:
The opinion in this matter, which remains unpublished, contains no

inappropriate personal information regarding parties or witnesses.

FOR THE COURT:

.h\i'eo\i €~ Acwv\)<>

 

ALLISON E. ACCURSO, J.A.D.
L#000860-14 CUMBERLAND
MMH

Case 3:18-cv-O9187-PGS-LHG Document 11-1 Filed 07/30/18 Page 36 of 64 Page|D: 94
4/26/2013 Cal§§o§€i\fi<'€§\br@i\?€hgk g Ud€'§‘&uo[d@gibm§ rdiCdFi-§chlil§gi§i§idi]';/;h§17 E\iieg/€§e?s§fsgpiiii€r@§riqppi=izme oi u.

ANDREW K. BONNER, JR v.
CUMBERLAND REGIONAL HIGH
SCHOOL DISTRICT

NO'l` FOR PUBLICATION WITHOUT 'l`HE

APPROVAL OF THE APPELLATE DIVlSlON

'l`his opinion shall not "constitute precedent or be..binding upon any court." Although it is
posted on the internet, this opinion is binding only on the parties in the case and its use in
other cases is limited R.1:36~3.

SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVTSION

DOCKET NO. A~41330~15Ti
ANDREW K. BONNER, JR.,
Plaintiff~Appellant,

V.

CUMBERIAND REGIONAL HIGH
SCHOOL DISTRICT,

Defendant-Respondent.

 

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Case 3:18-cv-O9187-PGS-LHG Document 11-1 Filed 07/30/18 Page 37 of 64 Pa?elD: 95
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June 27, 2017

Argued May 24, 2017 Deeided
Before Judges Accurso and Manahan.

On appeal from Superior Court of New Jersey, liaw Division, Cumberland County, Docket.
No. L~860~14.

Andrew K. Bonner, Jr., appellant, argued the cause pro se.

Stefani C. Schwartz argued the cause for respondent (Schwartz Simon Edelstein & Celso
LLC, attorneys; Ms. Schwartz, of counsel and on the brief, Saiju George, on the briei‘).

PER CURIAM

Plaintiff Andrew K. Bonner, Jr. appeals the grant of summary judgment in favor of
defendant Cumberland Regional School District Board of Education.l We affirm for the
reasons set forth in the comprehensive fourteen-page Written opinion of Judge.Darrell M.
Fineman. We add only the following

This matter arises out of alleged incidents of bullying and harassment perpetrated against
plaintiff while he was a student at Cumberland Regional High School (CRHS) from
September 2010 through June 2013. In 2009, CRHS adopted a "Harassment, Intimidation,
and Bullying" policy (HIB) providing for the procedure for filing a complaint, the
investigation process, and the punishment for violations of the HIB.a

'l`he HIB defines "harassment, intimidation, or bullying" as

any gesture, any Written, verbal or physical act, or any electronic communication, as
defined in N.J.S.A. 18A:37-14, whether it be a single incident or a series of incidents that

1. ls reasonably perceived as being motivated by either any actual or perceived
characteristic, such as race, color, religion, ancestry, national origin, gender, sexual
orientation, gender identity and expression, or a mental, physical or sensory disability, or
by any other distinguishing characteristic;

2. Takes place on school property, at any school-sponsored function, on a School bus, or off
school grounds, as provided for in N.J.S.A. 18A:37~15.3;

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Case 3[:18-Cv-09187-PGS-LHG Document 11-1 Filed 07/30/18 Page 38 of 64 Page|D: 96
mae/2013 Ca§r@o§eir§R,Ce/o@§é§f§EQ§XM&NM@EMQUSH§CH§YQ19§{!&4’/32®7 E@Qveiie]rdey%li;§£iolj&gr? ligaeirz§e otc

3. Substantially disrupts or interferes with the orderly operation of the school or the rights
of other students; and that

a. A reasonable person should know, under the circumstances, that the act(s) will have the
effect of physically or emotionally harming a student or damaging the students property, or
placing a student in reasonable fear of physical or emotional harm to his/her person or
damage to his/ her property; or

b. Has the effect of insulting or demeaning any student or group of students; or

c. Creates a hostile environment for the student by interfering with a student‘s education or
by severely or pervasively causing physical or emotional harm to the student

ln accordance with the policy, plaintiff and his parents filed a HIB complaint With CRHS on
November 29, 2012. The complaint alleged plaintiff was the victim of pervasive harassment
by students, teachers, and coaches.

Thereafter, John Mitchell, principal of CRHS and HIB coordinator, together with Joseph
Spoltore, a bullying specialist, conducted an investigation into plaintiffs complaint, which
included interviews with all involved parties On December 3, 2012, both Mitchell and
Spoltore concluded plaintiffs claims were unfounded based on their inability to obtain
sufficient corroborating evidence and the inconsistencies in plaintiffs recounting of the
alleged predicate events. By letter dated December 10, 2012, plaintiff and his parents were
advised of the HIB investigation results Plaintiff did not appeal the findings to the New
Jersey Commissioner of Education pursuant to N.J.S.A. 18A:37-15G))(6)(e).

On October 24, 2014, plaintiff filed a complaint against defendant alleging, amongst other
claims, negligence, "reckless endangerment of numerous children," violations of the HIB
policy, the New Jersey Law Against Discrimination (LAD), N.J.S.A. 10;5~1 to -42, public
transportation laws, medical privacy laws, and/ or "intellectual property theft." Defendant
filed an answer and an amended answer. Prior to the expiration of discovery, defendant
moved for summary judgment, which was denied without prejudice After the conclusion of
discovery, defendant again moved for summary judgment On April 11, 2016, the judge
granted summary judgment in favor of defendant This appeal followed

Plaintiff raises the following arguments on appeal

POINT l

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[PLAINTIFF] WAS NOT AFFORDED 'I`HE OPPORTUNITY TO APPEAL THE HIB
FINDING AND [DEFENDANT'S] HIB INVESTIGATION PROCESS WAS FLAl/VED.

POINT ll

A STUDENT HAS A RIGHT TO ACHIEVE AN EDUCATION FREE OF HARASSMENT
AND [PLAINTIFF‘S] CLAIMS AS OUTLlNED CONSTITUTE HIB UNDER 'l`HE NJLAD.

POlNT Ill

DISCLOSURE OF [PLAINTIFF'S] MEDICAL INFORMATION WAS IN VIOLATION OF
FERPA.

Our review of a ruling on summary judgment is de novo, applying the same legal standard

as the trial court. Nicholas v. Mynster, 213 N.J. 463, 477~78 (2013). Summary judgment

must be granted if "the pleadings, depositions, answers to interrogatories and admissions

on file, together with the affidavits, if any, show that there is no genuine issue as to any

material fact challenged and that the moving party is entitled to a judgment or order as a
i~ matter of law." Town of Kearny v. Brandt, 214 N.J. 76, 91 (2013) (quoting R. 4:46-2(0)).

l Thus, we consider, as the judge did, whether "the competent evidential materials

d presented, when viewed in the light most favorable to the non~moving party, are sufficient
to permit a rational factfinder to resolve the alleged disputed issue in favor of the non-
moving party." lbid. (quoting Brill v. Guardian Life lns. Co., 142 N.J. 520, 540 (1995)). If
there is no genuine issue of material fact, we must then "decide whether the trial court
correctly interpreted the law." Massachi v. AHL Servs., Inc., 396 N.J . Super. 486, 494 (App.
Div. 2007), certif. denied, 195 N..J. 419 (2008). We accord no deference to the trial judge's
conclusions on issues of law and review issues of law de novo. Nicholas, supra, 213 N.J. at
478.

Having considered appellants arguments in light of the discovery record, our standard of
review and the controlling law, we find them to be without sufficient merit to warrant
discussion in a written opinion R. 2:11‘3(e)(1)(E).

Aftirmed.

1 Defendant was improperly pled as Cumberland Regional High School District.

2 The policy was revised in 2011, and again in 2()14.

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Case 3:i18-Cv-O9187-PGS-LHG Document 11-1 Filed 07/30/18 Page 41 of 64 Pape|D: 99
Case 3:18~0\/-09187-PGS-LHG Document 1~2 titled 05/14/18 Page 14 of 24 Page D: 21

Applying 18 U.S. Code 1506, there was a theft of my judgment record. That is also how it
was reported to the New Jersey Statc Police, as a theft of the judgment record.

Applying 18 U.S. Codc 1509, there was an obstruction of thejudgment. And quoting the
statute, “No injunctive or other civil relief against the conduct made criminal by this
section shall be denied on the ground that such conduct is a crime.”

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Case 3:18-Cv-O9187-PGS-LHG Document 11-1 Filed 07/30/18 Page 42 of 64 Page|D: 100
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§

§ 1506

in section 2331). imprisoned not more than 8
years or bot`_ri,

(June 25. 1948. ch. 645. 62 Stat“. 770: Pub, L. 87£64.
§G(a), Sept. 19, 1962, 76 Stat. 551; Pul), L. 914452.
title IX., §903, Oct,. 15\ 1970. 84 Scat,i 947; Pub. L.
94~435, title 1, §105, Sept. 30, 1976, 90 Stat. 1389;
Pub. L. 97~291, §4((1), Oct. 12` 1982, 96 Stat. 1253:
Puh, L. 103~322, title XXXHI, §330016(11(Kl, Sept.
13. 1994, 108 Statt 2147; Pub. L. 108-458. title Vl.
§6703(?.), Dec. 17. 2004, 118 St,at. 3766.1

Hisroarc.ii, A!"n Rcvisio,\' No'ri~;s

Based on title 18, U.S.C., 1940 cd., §241a, lMar. 4, 1909
ch. 321, §135a. as added Ja.n. 13, 1940, c`n 1t 54 Stat, 13;
Junc 8, 1945,011.178.§2.59 Scat.. 234).

Word “‘agency" was substituted for the words "inde¢
pendent establishmenci board commission" in two in-
stances to eliminate any possible ambiguity as to scope
of section (Sce definitive section 6 of this title.)

!vtinor changes were made in phraseology

REl-`ERENCE$ l,\' TEXT

'l‘hc Antitrnst Civtl Process Act, referred to in text,
is Fuh. tit 37-4564. Sept. 19, 1962. 76 Stat. 548. as amended
which is classified generally to chapter 34 (§ 1311 et scq\)
of Tit.le 15. Commercc and Trade, F`or complete classi~
ficatton of this Act to the Code. see Sliort Titlc note
set out under section 1311 of Title 15 and ’l‘ables.

AMRNnMENTs

2004---1°uh. li. 1()8»1;384 which directed amendment of
the third undesignatecl paragraph of this section by
substituting ‘“`oc fined under this title, imprisoned not
more than 5 years or. if the offense involves inter-
national or domestic terrorism las defined in section
23;!1}. imprisoned not more than 8 years or both" for
"tie fined under this title or imprisoned notl more than
5 years or hoth". was executed ny making the substi-
tution for ;“‘ie fined under this title or imprisoned not
more than five years or both"i to reflect the probable
intent of Congress,

l§§a-»`Puh. L 103-322 substituted ;`fineil under this
tlt.ie" for "fineo not more than SS.O<)G" in last par

1982~-Pul). 11 97*291 struck out first two paragraphs
which provided respectively that whoever corruptly
or by threats or torce. or by any threatening letter or
communication endeavored to influence intimidate
or impede any witness in any proceeding pending before
any department or agency of the Unitetl Stai,es, or in
connection with any inquiry or investigation being had
by either House, cr any committee of either House. or
any joint committee of the Congress` and whoever ln»
jiu'ed any party or witness in his person or property on
account of his attending or having attended such pro~
ceeding, inquiry cr investigation or on account of his
testifying or having testified to any matter pending
therein would be subject to the penalty set forth in the
last paragraph and in the fourth paragraph substituted
"any pending" for "such" after "liiw under which", and
substituted "a.ny" for "snch" before "dcpartmcnt" and
before "tnqiiii'y"`v

lil'.’$~-Pub. Ii. 94-435 struck out "seccion 1968 of this
titlo" after "Antitrnst Civtl Process Act". inserted
"wi`thhol<‘ls, misrepresents" alter "Wi'llfnlly". "cm‘ers
up" after “conce:ils". "answers to written interrog-
atories or oral testimony". after "a.ny documentary
material", and “or attempts to do so or solicits an-
other to do so:" after `"sucli demand".

1976-1"11?). L. 91»452 inserted reference to section 1968
of this title

i%?.-~?u\). L. %'l 664 substituted section catchline
"()l)structlon of proceedings before departments ageiiA
cles. and committees" for "Intlueucing or injuring wit/
hess before agencies and committees" and punished the
willful removal.. concealment, destruction mutilation
alteration or falsification of documents which Were the
subject of a demand under the Antirrust Civil Process

T 'l`LE l&~~CRIl\/IES AND CRIMINAL PROCEDURE

Page 362

Act if done with the intent to prevent compliance v.'ith
a civil investigative demand
Erifi~:c'rivn D.a’re or 1982 AMHNDML-:N'r
Amendment by Pul), L. 97~291 effective t`)ct. 12. 1982

see section Q(al of Pul). L. 97-291, set out as an Efl`ective
Date note under section 1512 of this sitle.

EF?t-Jc'rrvi;: D~\'rn 01-‘ 1976 AMR.\'Dm:.\-'T
Amcndment by Pub. L. 94~435 effective Sept. 30` 1976.

see section 106 of Pub. 11. 94~435, sec out as a note under
section 1311 of Tlcle 15, Commcrce and 'I‘rade.

§1506. Theft or alteration of record or process;
false bail

Whoever feloniously steals takes away. alters
falsifies or otherwise avoids any record, writs
process or other proceeding in any court of the
Unttod States, whereby any judgment is re~
versed. made void. or does not take etfect; or

Wlioever acknowledges or procures to be ac-
knowledged in any such court. any recog-
nizance, bail, or judgment, in the name of any
other person not privy or consenting to the
same~

Shall be fined under this title or imprisoned
not more than five years or both.

(June 25w 1948. Ch. 645, 62 St,a.t,. 770; Pub. L.
103~322. title XXXHL §330016(1)(K), Sept, 13. 1994.
108 St,a.t.. 2147.l

HlsToRic_tL _=\.\'D Rl~:vlleN l\’o'rss

tiascil on title 18, U.S.C,` 1940 ed.4 §238 (Mari 4, 1909.
ch. 321. §127, 35 St.at. lllll.

Thc term of imprisonment was reduced from 7 to 5
years to conform the punishment with like ones for
similar offenses (Soe section 1503 of this titlc.l

Minor changes were made in phraseology

A.\in:vn:u§,m's

l§l§+»-Puo. L'. 1034522 substituted "finetl under this
titlc." for "flncd not more than $.‘).O(l(l" in last par.

§ 1507. Picketing or parading

Whoever. with the intent of interfering with.
obstructing or impeding the administration of
justice or with the intent of influencing any
judge juror. witnessL or court ol'{icer. in the dis-
charge of his duty pickets or parades in or near
a building housing a court of the United St;ates.
or in or near a building or residence occupied or
used by such judge, juror` witness or court effie
cert or with such intent uses any sound*truck or
similar device or resorts to any other dem~
onscration in or near any such building or resi-
<ience. shall be fined under this title or impris~
oned not more than one year. or hoth.

clothing in this section shall interfere with or
prevent the exercise by any court of the United
Sbates of its power to punish for contempt.

(Arldod SeptV 23. 1950. ch. 1024. title I‘ §31[3>. 64

Stat, 1018: amended Puh. L. 10&322. title XXXHI.

§330016(1>(!{]‘ Sept. 13, 1994, 108 St,a.t. 2147.)
AMENDM}:INTB

lll!l‘i-Puh, l,. 103-322 substituted "flned under this
title" for "fine<.l riot more than $5.000" in first pac

§1508. Recording, listening to, or observing pro~
ceedings of grand or petit juries while delib-
erating or voting

Whocver knowingly and
means or device v.rl'iatsoevervw

willfully hy any

Pagc 363

(a) records or attempts to record. the pro»
ceedings of any grand or petit jury in any
court of the Unitcd States while such jury is
deliberating cr votiug; or

(b) listens to or observes or attempts to lis-
ten to or observe the proceedings of any grand
or petit jury of Whicl’i he is riot a member in
any court of the United States while such jury
is deliberating or voting~N

shall he fined under this title or imprisoned not
more than one year, or both

Nothing in paragraph (a) of this section shall
be construed to prohibit the taking of notes by
a grand or petit juror in any court of the United
States in connection with and solely for the pur-
pose of assisting him in the performance of his
duties as such juror.

(Added Aug. 2, 1956, ch. 879. §l. 70 Stat, 935;
amended Puh. L. 103-»322, title XXXHI.
§330016(1>(1{}, Sept, 13, 1994. 108 Stat. 2147; Pub_
L. 104»294, title Vl, §601(0(131. Oct, ll, 1995. 110
Stat, 3500.)

Atzei;t)i~iz:v'rs
1996~1°1:`0. I... 104~294 realigned margins for provisions

beginning "shall be fined" and ending "one year. or
both."
1994~-~?\11). L. 103»322 substituted "finod under this

iitle" for "fined riot more than 51.000" in par following
paid (b).

§ 1509. Obstruction of court orders

Whocver. by threats or force, willfully pre~
rents obstructs, impedes or interferes with or
willfully attempts to prevent obstruct impede
or interfere with‘ the due exercise of rights or
thc performance of duties under any ordcr. ll‘.¢lg~
ment, or decree of a court of the United States.
shall be fined under this title or imprisoned riot
more than one year, or both.

No injunctive or other civil relief against the
conduct made criminal by this section shall be
denied on the ground that such conduct is a
crime

(Added l"ub. L. 8&-4¢19, title lY §101, May 6. 1960,
74 Stat. 86; amended Pi).b, L. 103*322, title
XXXIH_ §33(`¢016(1>(}1), Sept, 13. 1991 108 Stat.
2147.l

A.V,END)JE.\'TS

lQG~i~Pc'o, lt 103322 substituted "i`incd under this
ritlc" for "fincd not more than 81`000" in first par

§1510. Obstruction of criminal investigations

ial Whoever willfully endeavors by means of
bribery to obstruct delay. or prevent the com»
munication of information relating to a viola-
tion of any criminal statute of the United
States by any person to a criminal investigator
shall be fined under this title. or imprisoned not
more than five years or both.

§h‘)(ll Whoever, being an officer of a financial
institution with the intent to obstruct a judiv
cial proceedingy directly or indirectly notifies
any other person about thc existence or con»
tents of a subpoena for records of that financial
institution or information that has been fur-
nished in response to that subpoenav shall be
fined under this title or imprisoned not more
than 5 years or both

TITLE ld-CRL’VIES AND CRIMINAL PROCEDURB

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§1510

(2) Whoever. being an officer of a financial ina
stitution. directly or indirectly notifies-
fA) a customer of that financial institution
whose records are sought by a subpoena for
rccords', or
(B) any other person named in that suh»
poena:

about the existence or contents of that subpoena
or information that has been furnished in re~
spouse to that subpoena, shall be fined under
this title or imprisoned not more than one year,
or both,

(3) As used in this subsection-

€A} the term “an officer of a financial insti»
tutiori" means an officer, director. partner‘
employee agent or attorney of or for a finan-
cial institution; and

(B> the term “‘subpoeiia for records" means a
Federal grand jury subpoena or a Departmeiit
of Justice subpoena (issued under section 3436
of title 18)., for customer records that has been
served relating to a violation of, or a conspir~
acy to violate»~

iii section 215, 856, 657` 1005, 1006, 1067, 1011

1344, 1956, 1957, or chapter 53 of title 31; or

(ii') section 1341 or 1343 affecting a financial
institution

(c> As used iii this section, the term "‘ci'iminal
investigatoi"` means any individual duly author-
ized by a depai‘tment, agency. or armed force cf
the United States to conduct or engage in inves~
tigations of or prosecutions for violations oi' the
criminal laws of the United States.

idl(l> Whoever- '

(A) acting as, or being. an officer. director
agent or employee of a person engaged iii the
business of insurance whose activities affe<€
interstate commerce or

(B) is engaged in the business of insurance
whose activities affect interstate commerce or
is involved (otlier‘ than as an insured or hence
ficiai‘y under a policy of insurance) in a trans»
action relating to the conduct of affairs of
such a business

with intent to obstruct a judicial proceeding di‘
rectly or indirectly notifies any other person
about the existence or contents of a subpoena
for records of that person engaged in such busi»
ness or information that has been furnished to a
Fedcral grand jury in response to that subpoena
shall be fined as provided by this title or impris-
oned not more than 5 ycars, or both.

<2) As used in paragraph (ll, the term "Sub-
poena for records" means a Federal grand jury
subpoena for records that has been served relat~
ing to a violation of, or a conspiracy to \'iolate.
section 1033 of this title

(cl Wlioovcr` having been notified of the appll¢
cable disclosure prohibitions or confidentiality
requirements of section 2709(@{1) of this titlc.
section 626(<1)(1) or 627(0)(1) of the Fair Credit
Reportlng Act (15 U,S¢C. lGSlu(d)ill or
lGBlv(cl(lll. section llli(a)(Si(A) or
1114(a)(5)lD)(i) of the nght to Financial Pri\'acy
Act“ l`l‘Z 'LJ.S.C. '.B“ilfiia`)l'.l`)i}\j or fl’i`i'iizi`;l?))iD`il"i`)`),
or section 802(1))(1> of the Nationnl Security Act
of 1947 (50 U.S.C. 436(!))(1)), knowingly and with
the intent to obstruct an investigation or judi~

lSo in oriein;il Prohably should be followed by *of 1973".

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SENATE, No. 2097

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sTATE olEHN§mW JERSEY
Zl(}fh LEGISLATURE

INTRODUCED NOVEMBER 18, 2002

Sponsored by:

Scnamr J(_)HN J. MATHEUSSEN
District 4 (Camden and Glouccster)
Senator JOI{N H. ADLER

District 6 (Camden)

SY!\`OPSIS
Rcm<)vcs limitation on punitive damages awards in civil actions arising from
convictions for murdcr, aggravath manslaughter or manslaughtcr.

CURRENT VF.RSXON OF TRXT
As introduced

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82097 M/\'l`l iEUSSEN, ADLER
2

l At\' ACT concerning punitive damages and amending P.L.1995. c. l~'lZ.

2

3 Bl»`, lT ENACTET) by the Semz!e and Ge)i€raf Assenib/y oft/se Sm!e

4 ofNew Jersey.‘

5

6 l. Seetioii 6 0fP,l..l9‘)5.c.142 (C.ZA:IS~S,M) is amended to read

7 as follows;

3 6. a. Before entering judgment for an award of punitive damages1

9 the trial judge shall ascertain that the award is reasonable in its amount
l(l and justified in the circumstances of the case, in light ofthe purpose
ll to punish the defendant and to deter that defendant from repeatin&r
ll such conduct if necessary to satisfy the requirements of this section,
l3 the judge may reduce the amount ofor eliminate the award ofpunitivc
14 damages
l5 b. No defendant shall be liable for punitive damages in any action
l6 in an amount in excess ol` Five times the liability ofthat defendant for

l? compensatory damages or 8350,000, whichever is greatcr,

18 c. The provisions ofsubsection b. ofthis section shall not apply to
l9 causes ol` action brought pursuant to P.L. l993, c. l37 (C.ZA:53A-»Zl
20 et seq.). P¢L,lQ-'l$, c.l69 {C.l():S-l et seqr), PiL¢l989, 6303
Zl (C.Z();SC~S et seq.) or P.L,1992, c.109 {C,ZA;GlB~l), or in cases in
22 which a defendant has been convicted pursuant to l_~;l,§_.;§`:: l l-?
23 D_L§_Z_Q;_l_l_'i R,S.39:4~5() or section 2 of P.L_l98l, er$l'l
24 L(I_39:4-50,4a) or the equivalent under the laws of ariv cher

25 jurisdiction

26 (et`: PtL.l995,e.l42.s.6}

27

28 2. This act shall take effect immediately
29

30

3l STATEMENT
32

33 Under the "Puriitive Damages A¢;t\" P,l..l995, e,l42 (C.ZA:lS-S.Q
34 et seq.), punitive damages in civil actions are "capped," with certain
35 exceptions The statute provides that generally punitive damages
36 cannot exceed an amount in excess of five times the liability ofthe
37 defendant for compensatory damages or 3350`(}0()` whichever is
38 greater

39 llowever, the caps on punitive damages do riot apply under current
40 law to the following causes ofaetion; N.J.St./\.2A:53A-2l et sth (bias
4l crime vietimsl; N.J.S.A.lO:S-l et seq. (Law Agairisi Discriminatioii);
42 N.J,S.A.ZG;SC~S et seq (eont`ideritiality of AIDS and HIV records);
43 or N.J.S.A.ZA:&\B-l (child sexual abuse). or in cases in Which a

EXPLAN.~\TIO.\' - Matter enclosed in bold'l'aced brackets [thus] in the above hillis not
enacted and is intended to de omitted in the law

.\!atter underlined thus is new matzen

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82097 M/\THEUSSEN, ADLER
3

defendant has been convicted pursuant to N.J.S_A.39:4-50 (drunk
driving) or N.J,S.A.39:4»50.4a (license revocation for refusal to
submit to a breath test). This bill would add causes election arising

from the crimes of murder, aggravated manslaughter or manslaughter

V\.D~DJN~

to the list of exceptions from the caps on punitive damages

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Corneli i_aw School

U.S. Code ) Titie 28 ) Part `v’l >Chapter 181 ) § 4iOi

28 U.S. Code § 4101 - Detinitions

in this chapter:

(1) DEFAMATioN.-

The term “defamation” means any action or other proceeding for defamation libel‘ slander, or similar claim
alleging that forms of speech are false, have caused damage to reputation or emotional distress have
presented any person in a false light, or have resulted in criticism, dishonor, or condemnation of any person

(2) Dones'nc couRT.-
The term “domestic court" means a Federai court or a court of any State.

(3) FoREiGN couRT.~
The term "foreign court" means a oourt, administrative body. or other tribunal of a foreign countryA

(4) FoRF,iGN JuooMENT.._.
The term “foreign judgment” means 3 final judgment rendered by a foreign court

(5) STATE.--
The term “State’ means each of the severai States, the District of Coiumbia, and any commonwealth
terntory, or possession of the United States.

(6) UNn'Eo sTATEs PF.RsoN.--i'he term “United Staies person" means-

(A) a United States citizen;
(B) an alien lawfully admitted for permanent residence to the United States;

(C) an alien lawfully residing in the l.lnited States at the time that the speech that is the subject of the
foreign defamation action was researched, prepared or disseminated or

(D) a business entity incorporated in, or with its primary location or place of operation in, the United
States.

(Added Pubv i_, 111-223, § 3(3)\ Aug. 10, 2010, 124 Stat. 2381.)

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UNITED ST/\'nzs DisTRiCT CouRT

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APPLICATION TO PR()CEED lN DlSTRlCT COURT WITH()UT PREPAYING FERS OR C()STS
(Long Form)

 

Afl`idavit in Support of the Application Instructions

l am a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.
that l am unable to pay the costs ofthese proceedings Do not leave any blanks: ifthe answer to a question is "O"
and that l am entitled to the relief requested l declare "none," or "not applicable (N/A)," write that response lf

under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in ans\\'er, attach a separate sheet ot`paper identified with your

 

 

 

a dismissal of my claims name, your case's docket number, and the question number.
~ dana »z”’ » »~ l n

saw , W, s V/té/</ Dai@: , f ,/ »/' ,,

lt lTor both you and your spouse estimate the average amount of money received from each ofthe iollowing

sources during the past l2 months Adjust any amount that was received yveekly, bivveekly, quarterly,
semiannually, or annually to show the monthly rate Use gross amounts, that is, amounts before any deductions

for taxes or otherwise

 

 

 

 

 

 

 

 

 

 

 

 

lncome source Average monthly income income amount expected
amount during the past 12 next month
You months Spouse You Spouse
Employmeni 5 et $ §\i l/§}§ 3 0 5 W'/G
Self-employment 3 U 3 \_,\§ /§3{ 3 0 $ xxi /B§
lnCGmC frOm real pr()p€l'ly mich us rental incnme) 5 0 § (\§ //H 5 0 § N/H
lnterest and dividends 3 0 § p\§/_R 3 U 5 W/H
cars . f i` f , .
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AU 23“} tRev Gl¢‘l.i) Applieatton to l’rocced m District L`ourt \‘~`nhout Prepay mg Fees or Costs (l.ong l`orm)

 

 

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R€llf€m€t'l[ fslic/1 as social set'tl)'t'l_t‘t pensions annuities $ f 3 \ g 0
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Unemployment payments

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Total monthly income: 5 \:;§l"% 0'00 0 O'OO 5 )§zbl 0'00 § 0 0'00

2. List your employment history for the past two years, most recent employer tirst. /Gmst~ mom/iti- pqt» is lac/ora raw or
other deduc,‘lion.i',)

 

 

Employer Address Dates of employment Gross
monthly pay

 

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3, List your spouse's employment history t`or the past two years, most recent employer tirst. rt;ro.o~nzantli!ypa_i- is he_/ort>
taxes or ol/Ie)' dec/tit'tion.s')

 

Employer Address Dates of employment Gross
monthly pay

 

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til/ii l\l/rt i\l/ti, l\l/li
4, now much cash ao you ana your spouse haw s § _/_

Below. state any money you or your spouse have in bank accounts or in any other Fmancial institution

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Financial institution Type of account Amount you have Amount your
spouse has
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lt you are a prisoner you must attach a statement certified by the appropriate institutional officer showing all receipts
expenditures and balances during the last six months in your institutional accounts lfyou have multiple accounts
perhaps because you have been in multiple institutions1 attach one certified statement of each account

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,\t) 2311 (Rev til/lj) Application to Proeeed m District C`ourt Without Prepa§ ing l-`ees or (,`osts (l.ong Form)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. l,ist the assets, and their values. which you own or your spouse owns {)o not list clothing and ordinary
household furnishings
Assets owned by you or your Spouse
llome /l unity § O
()tlter real estate /'i'a!tle) 3 O
l\/lotor vehicle #] /l'alut», 55 O
l\/lake and year;
l\/lodel:
A\
Registration #: 0
Motor vehicle #2 /t'a/t/e/ 55 0
l\/lake and year:
l\/lodel:
Registration #; ©
()ther assets 1121/nw 5 ()
Other assets r1 2111/ai 33 O
o. State every person. business or organization owing you or your spouse money, and the amount oued.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
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7. State the persons who rely on you or your spouse for support
Name (or, it` under 18, initials only) Relationship Age

 

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Page 4 ot 5

»\(,) 239 (Rey Olfl 5) Applicauon to Proceed in District Court Without l"rcpay ing l"ees or Costs (Long l"orm)

 

8. listimate the average monthly expenses ofyou and your tamily. Show separately the amounts paid by your
spouse Adjust any payments that are made weekly7 hiweekly, quarterly, semiannually. or annually to show the
monthly rate.

 

You Your spouse

 

l{€[ll Ol” llOm€-mOl'lgag€ payment littell/drug lot re)iletlf§ mobile lit/maj

Are real estate taxes includcd‘? C'J Yes , No S 3 `l\':/'H»
No li » `

ls property insurance included‘? fl Yes

 

 

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laundry and dry~cleaning 5 C rile

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l\/ledical and dental expenses 5 2065 ‘{\u//p§

 

 

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Recreation, entertainment, newspapers magazines etc. S (`: S l{\//f\'

 

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llomeowner's or renter’s: 5 VM) 5 w m
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lnstallment payments

Motor vehicle: S (:/ 3 l§l\_§l/Y'§i

 

 

 

 

 

 

 

 

 

Credit card /namej: S r\, S l‘l\§l/P

Department store mama/1 5 C` S l!{\//H»

Other: 5 © 3 A{\.f/é
Alimony, maintenance and support paid to others S 0 S /Y\l /pj

 

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/\() 230 (Rev_ 0 l/l 5) /\ppltcati<)n to Procced in Distrsct (_`ourt Without Pt‘epaymg lr`ees or Co.~;ts (l.ong i`orm)

 

 

 

 

Regular expenses for operation of business, profession7 or farm rat/ach detailed 5 © 5 t\\‘f_/H
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other/tamm s ( \ s ltv (>r

 

 

 

 

 

Totalmonthlyexpenses:$ i{C{Q`O U'OOS O 0`00

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months‘?

l') Yes ' No lfyes, describe on an attached sheet

llave you spent m or y ill you be spending - any money for expenses or attorney fees in conjunction with this
la\t`suit’? t"l Yes No

lfyes, how much‘? §

Provide any other information that will help explain why you cannot pay the costs ofthese ém;;§)/:>)ceedings.j

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ldentify the city and state ofyour legal residence
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Your daytime phone number: i:)@% qc)"§ qg/?g
Your age: 1?\ Your years ot`scltooling: m /""`< \1% (3,("&&€/

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Case 3:18-0\/~09187-PGS-LHG Document 1-4 filled 05/14/18 Page 1 of 1 PagelD: 37

AO 240A (Rev. 0l/O9; NJ 06/17) Ordcr to Proeeed Witliout Prepaying Fces or Costs

 

UNITED STATES DISTRICT COURT

for the

DisrRicT oF NEW JERSEY
ANDREW i<. BoNNER, JR.
oRDER oN APPLieATioN
Piaimiff($), ro PRoCEED WirHoUr
PREPAYMENT or FEES

v.
Civil Aetion No. 3118~€\/-9187

l\/IARISSA M. HUBER et al
Defendant($).

 

 

Having considered the application to proceed Without prepayment of fees under 28 U.S.C.
§1915, IT IS ORDERED the application is:

[:j GRANTED, and
[:l The clerk is ordered to tile the complaint,
[:] IT ls FURTHER oRi)ERED, the clerk issue a Summons ana the U.s. Marshai

Serve a copy of the complaint, summons and this order upon the defendant(s) as
directed by the plaintiff(s). All costs of service shall be advanced by the United

States,
[:] DENIED, for the following reasons:
[:] IT IS FUR'I`HER ORDERED, the clerk is ordered to close the iile. Plaintiff(s)

may Subrnit payment in the amount of $400 Within 14 days from the date of this
order to reopen the case Without further action from the Court.

ENTERED this day of , 2018 S/
Signaturc of Judicial Offieer

 

Peter G. Sheridan, USDJ
Name and Title of Judieial Ot`fieer

 

Case 3:18-cv-09187-PGS-LHG Document 11-1 Filed 07/30/18 Page 58 of 64 Page|D: 116

EXHIBIT B

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Case 3:18-cv-09187-PGS-LHG Document 11-1

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ANDREW K. BONNER, JR v.
CUMBERLAND REGIONAL HIGH
SCHOOL DISTRICT

NO'l` FOR PUBLICATION WTTHOUT THE

APPROVAL OF THE APPELLATE DlVlSlON

"lhis opinion shall not' constitute precedent or be binding upon any eourt. " Although it is
posted on the internet, this opinion is binding only on the parties in the ease and its use in
other cases is limited R.1:36-3.

SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVISION

DOCKET NO. A-4133o-15T1
ANDREW K. BONNER, JR.,
Plaintiff-Appellant,

V,

CUMBERLAND REGIONAL HIGH
SCHOOL DISTRICT,

Defendant-Respondent.

 

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Case3: 18- -cv v-7-0918 PGS- LHG Document11-1 Fi| dO7/3O /13 Pag f64 Pa el 118
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June 27, 2017

Argued May 24, 2017 Decided
Before Judges Accurso and Manahan.

On appeal from Superior Court of New Jersey, Law Division, Cuml)erland County, Docket
No. L-860-14.

Andrew K. Bonner, Jr., appellant, argued the cause pro se.

Stefani C. Schwartz argued the cause for respondent (Schwartz Simon Edelstein & Celso
LLC, attorneys ; Ms. Schwartz, of counsel and on the brief, Saiju George, on the brief).

PER CURIAM

Plaintiff Andrew K. Bonner, Jr. appeals the grant ofsummary judgment in favor of
defendant Cumberland Regional School District Board of Education.l We affirm for the
reasons set forth in the comprehensive fourteen_page Written opinion of Judge .Darrell M.
Finernan. We add only the following

This matter arises out of alleged incidents of bullying and harassment perpetrated against
plaintiff while he was a student at Cumherland Regional High School (CRHS) from
September 2010 through June 2013. ln 2009, CRHS adopted a "Harassment, lntirnidation,
and Bullying" policy (HIB) providing for the procedure for iiling a complaint, the
investigation process, and the punishment for violations of the HIB.Q

The HIB defines "harassment, intimidation, or bullying" as

any gesturc, any Written, verbal or physical act, or any electronic communication, as
defined in N.J.S.A. 18A:37~i4, whether it be a single incident or a series of incidents that

1. ls reasonably perceived as being motivated by either any actual or perceived
characteristic, such as race, color, religion, ancestry, national origin, gender, sexual
orientation, gender identity and expression, or a mental, physical or sensory disability, or
by any other distinguishing characteristic;

2. Tal<es place on school property, at any school-sponsored function, on a school bus7 or off
school grounds, as provided for in N.J.S.A. 18A:37-15.3;

nnps://law.justia.com/cases/new~jersey/aopellate-<iivis¢on-unpubiished/QG17/34133~15.html 2/5

Case 3:18-cv-09187-PGS-LHG Document 11-1 Filed 07/30/18 Page 61 of 64 Pa e_|D: 119
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3. Substantially disrupts or interferes With the orderly operation of the school or the rights
of other students; and that

a. A reasonable person should know, under the circumstances, that the act(s) v~.a`ll have the
effect of physically or emotionally harming a student or damaging the student's property, or
placing a student in reasonable fear of physical or emotional harm to his/ her person or
damage to his/ her property; or

b. Has the effect of insulting or demeaning any student or group of students; or

c. Creates a hostile environment for the student by interfering With a student's education or
by severely or pervasively causing physical or emotional harm to the student

ln accordance With the policy, plaintiff and his parents filed a HIB complaint With CRHS on
November 29, 2012. The complaint alleged plaintiff was the victim of pervasive harassment
by students, teachers, and coaches

Thereafter, John Mitchell, principal of CRHS and HIB coordinator, together with Joseph
Spoltore, a bullying specialist, conducted an investigation into plaintiffs complaint, Which
included interviews with all involved parties On December 3, 2012, both Mitchell and
Spoltore concluded-plaintiffs claims were unfounded based on their inability to obtain
sufficient corroborating evidence and the inconsistencies in plaintiffs recounting of the
alleged predicate events. By letter dated December io, 2012, plaintiff and his parents were
advised of the HIB investigation results Plaintiff did not appeal the findings to the New
Jersey Commissioner of Education pursuant to N.J.S.A. 18A:37-15(b)(6)(e).

On October 24, 2014, plaintiff filed a complaint against defendant alleging, amongst other
claims, negligence, "recl<less endangerment of numerous children," violations of the HIB
policy, the New Jersey Law Against Discrimination (LAD), N.J.S.A. 10:5~1 to -42, public
transportation laws, medical privacy laws, and/ or "intellectual property theft." Defendant
filed an answer and an amended answer. Prior to the expiration of discovery, defendant
moved for summary judgment, which Was denied without prejudice After the conclusion of
discovery, defendant again moved for summary judgment On April 11, 2016, the judge
granted summary judgment in favor of defendant This appeal followed

Plaintiff raises the following arguments on appeal

POINT l

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[PLAINTIFF] WAS NOT AFFORDED THE OPPOR'FUNITY TO APPEAL THE HIB
FINDING AND [DEFENDANT'S] HIB INVESTIGATION PROCESS ‘WAS FLAWED.

POINT ll

A STUDENT HAS A RIGHT TO ACHIEVE AN EDUCATION FREE OF HARASSMENT
AND [PLAINTIFF'S] CLAIMS AS OUTL[NED CONSTITUTE HIB UNDER THE NJLAD.

PGINT ill

DISCLOSURE OF [PLAINTIPF'S] MEDICAL INFORMATION WAS IN WOLATION OF
FERPA.

Our review of a ruling on summary judgment is de novo, applying the same legal standard

as the trial court. Nicholas v. Mynster, 213 N.J. 463, 477-78 (2013). Sumrnary judgment

must be granted if "the pleadings, depositions, answers to interrogatories and admissions

on file, together with the affidavits if any, show that there is no genuine issue as to any

material fact challenged and that the moving party is entitled to a judgment or order as a
r matter of law." Town of Kearny v. Brandt, 214 N.J. 76, 91 (2013) (quoting R. 4:46-2(c)).

l y Thus we consider, as the judge did Whether' the competent evidential materials

d presented when viewed m the light most favorable to the non~ moving party, are sufficient
to permit a rational factfinder to resolve the alleged disputed issue in favor of the non-
moving party." lbid. (quoting Brill v. Guardian Life Ins. Co., 142 N.J. 520, 540 (1995)). If
there is no genuine issue of material 'fact, we must then "decide whether the trial court
correctly interpreted the law." Massachi v. AHL Servs., lnc., 396 N.J. Super. 486, 494 (App.
Div. 2007), certif, denied, 195 N.J. 419 (2008)4 We accord no deference to the trial judges
conclusions on issues of law and review issues of law de novo Nicholas, supra, 213 N.J. at
478.

Having considered appellants arguments in light of the discovery record, our standard of
review and the controlling law, we find them to be without sufficient merit to warrant
discussion in a written opinion. R. 2211~3(@)(1)(E).

Afiirmed.

1 Defendant was improperly pled as Cumberland Regional High School District.

2 The policy was revised in 2011, and again in 2014.

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EXHIBIT C

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ZOlB Nevv lersey Revised Statutes

Title ZA - ADMINISTRATION OF ClVlL AND CRlMlNAL JUSTICE
Section 2A;lS-5.12 ~ Award of punitive damages; determination
Universal Citation; NJ Rev Stat § ZA:lS-S. 12 (20l3)

2A:l5-5. l2. Award of punitive damages; determination

4. a. Punitive damages may be awarded to the plaintiff only if the plaintiff proves, by clear and
convincing evidence, that the harm suffered was the result of the defendant’s acts or omissions,
and such acts or omissions were actuated by actual malice or accompanied by a wanton and
willful disregard of persons who foreseeably might be harmed by those acts or omissions This
burden ofproof may not be satisfied by proof of any degree of negligence including gross
negligence

b. ln determining whether punitive damages are to be awarded, the trier of fact shall consider all
relevant evidencc, including but not limited to, the following

( l) The likelihood, at the relevant time, that serious harm would arise from the defendants
conduct;

(2) The defendant's awareness of reckless disregard of the likelihood that the serious harm at
issue would arise from ’he defendants conduct;

{3) 'l`hc conduct of the defendant upon learning that its initial conduct would likely cause harm;
and

(4) The duration of the conduct or any concealment of it by the defendant

c. if the trier of fact determines that punitive damages should be awarded, the trier of fact shall
then determine the amount of those damages ln making that determination, the trier of fact shall
consider all relevant evidence, including, but not limited to, the following:

( l) All relevant evidence relating to the factors set forth in subsection b. of this section;
(2) The profitability ofthe misconduct to the defendant;

(3) thn thc misconduct Was terminated; and

(4) The financial condition of the defendant

L.1995,c. l42,s.4,

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